                          LTNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF NORTH CAROLINA
                                       CHARLOTTE DIVISION

LINITED STATES OF AMERICA                             )
                                                      )   DOCKET NO.:      3 : 17   -cr-273-RJC
       V.                                             )
                                                      )   FACTUAL BASIS
BENJAMIN ABRAHAM, alWa Yakiel Ben-                    )
Abraham, akl a Y akiel Benabraham, alW a              )
Yahiel Benabraham                                     )



         NOW COMES the United States of America, by and through Dana Washington, Attorney
 for the United States pursuant to 28 U.S.C. $ 515, and hereby files this Factual Basis in support of
 the plea agreement filed simultaneously in this matter.

         This Factual Basis is filed pursuant to Local Criminal Rule 11.2 and does not attempt to
 set forth all of the facts known to the United States at this time. By their signatures below, the
 parties expressly agree that there is a factual basis for the guilty plea(s) that the defendant will
 tender pursuant to the plea agreement, and that the facts set forth in this Factual Basis are sufficient
 to establish all of the elements of the crime. The parties agree not to object to or otherwise
 contradict the facts set forth in this Factual Basis.

          Upon acceptance of the plea, the United States will submit to the Probation Office a
 "Statement of Relevant Conduct" pursuant to Local Criminal Rule 32.4. The defendant may submit
 (but is not required to submit) a response to the Government's "Statement of Relevant Conduct"
 within seven days of its submission. The parties understand and agree that this Factual Basis does
 not necessarily represent all conduct relevant to sentencing. The parties agree that they have the
 right to object to facts set forth in the presentence report that are not contained in this Factual Basis.
 Either party may present to the Court additional relevant facts that do not contradict facts set forth
 in this Factual Basis.

            L    From at least December 2012 through at least May 2017, in Mecklenburg County,
 within the Western District of North Carolina and elsewhere, the defendant, BENJAMIN
 ABRAHAM , a/Wa Yakiel Ben-Abraham, alWa Yakiel Benabraham, alWa Yahiel Benabraham, did
 knowingly and intentionally devise a scheme and artifice to defraud and obtain money from
 victims by using materially false or fraudulent pretenses, representations and promises.

            2. As part of the above-referenced scheme, ABRAHAM induced victims to entrust
 money to him for a variety of investment opportunities, including investments in jewelry, precious
 metals and gemstones. Instead of using the funds as he promised, ABRAHAM largely used the
 victims' money to fund his lifestyle and to keep his struggling businesses afloat, by, for example,
 making payments on debts owed to third-parties and making Ponzi-style payments to other
 victims.




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        3. During the course of the scheme, ABRAHAM induced at least seven victims to
invest over $3.5 million, resulting in losses of more than $2 million, and he attempted to solicit
even more investments.

       4.      In carrying out the above-referenced scheme, ABRAHAM acted with an intent to
defraud victims.

        5. In order to advance, further, and carry out the above-referenced scheme,
ABRAHAM transmitted, and caused the transmission of, writings, signals, and sounds by means
of a wire communication in interstate commerce.


DANA WASHINGTON
ATTORNEY FOR THE LJNTTED STATES PURSUANT TO 28 U.S.C. $ 515




ASSISTANT UNITED STATES ATTORNEY




        ANT UNITED STATES ATTORNEY


                     Defendant's Counsel's Signature and Acknowledgment

       I have read this Factual Basis, the Bill of Indictment, and the plea agreement in this case.
and have discussed them with the defendant. Based on those discussions. I am satisfied that the
defendant understands thg,F4ctual Basis, the Bill of Indictment, and the plea

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